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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                 CASE NO. 17-14053-CR-MARRA (MARTINEZ)/MAYNARD

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  CARL LAWRENCE COBB,

        Defendant.
  ________________________________________/

                  REPORT AND RECOMMENDATION ON DEFENDANT’S
                           MOTION TO SUPPRESS [D.E.19]

         THIS CAUSE having come on to be heard upon the aforementioned Motion and this

  Court having reviewed the Motion, the Government’s Response, the transcript, and the entire

  court file, recommends to the District Court as follows:

         1.      Defendant CARL LAWRENCE COBB is charged with two counts of

  transportation of sea turtle eggs in violation of the Lacey Act, 16 U.S.C. §§ 3372(a)(1) and

  3373(d)(1)(B), and two counts of taking sea turtle eggs in violation of the Endangered Species

  Act, 16 U.S.C. §§ 1538(a)(1)(G) and 1540(b)(1), based on circumstances arising on May 5, 2017

  and May 24, 2017. By the instant Motion [D.E. 19], Defendant moves to suppress statements he

  made when interrogated by law enforcement on May 24th. The Motion argues that Defendant

  invoked his right to remain silent about fifteen minutes into the interview in the following

  manner:

         Q. So three weeks ago …

         A. I’m done with you, sir. I’m --

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         Q. Three weeks ago …

         A. I’m sorry. Sir, I’m done with it. You know, whatever ya’ll got to do …

         Q. All right. I’m just gonna run through a few things with you real fast.

         A. I’m done with it. I’m saying I don’t want to say nothing else because I don’t
         want to say the wrong thing or whatever. Like you say, you know, whatever I say
         can be used against me. I told you whatever I told you. I’m done.

         Q. But I mean now is your time to go ahead and …

         A. Sir, I done told you. I told you.

         Q. I know, but let me just explain something to you, okay? Now is your time to
         tell the truth. Okay?

         A. I’m telling you the truth.

         Q. Okay, just let me speak for a second…

  [D.E. 19, Attachment A, 5/24/2017 Transcript, pg. 21, lines 4-20]. Law enforcement continued

  questioning Defendant Cobb, despite Cobb having expressed his desire to stop talking to law

  enforcement.

         2.      In its Response [D.E. 21], the Government agrees that Defendant invoked his

  right to remain silent during the conversation described above, and concedes that any statements

  made by Defendant after this invocation of rights should be suppressed. Since both parties agree

  on this issue, this Court recommends that the portion of the interview after page 21, line 4 of the

  transcript should be suppressed.

         3.      The only remaining issue relates to the admissibility of statements made prior to

  Defendant’s invocation of his right to remain silent. Defendant’s Motion is somewhat unclear

  as to its request regarding the first fifteen minutes of the interview. The first paragraph of the

  Motion asks that “all evidence and statements” of the Defendant be suppressed as fruit of the

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  poisonous tree [D.E. 19 at 1], but the argument section of the Motion asks specifically for

  suppression of the “last portion of the taped statement of the Defendant” [D.E. 19 at 4]. This

  Court recommends suppression of the last portion of the statement, which was made after

  Defendant invoked his right to remain silent. See Christopher v. State of Florida, 824 F.2d 836

  (11th Cir. 1987) (suppressing all statements made after the defendant first indicated his wish to

  remain silent). It is further recommended that the first part of the statement, made prior to

  Defendant’s invocation of his rights, be deemed admissible.

         ACCORDINGLY, this Court recommends to the District Court that the Defendant’s

  Motion to Suppress Illegally Obtained Evidence [D.E. 19] be granted insofar as it seeks to

  suppress Defendant’s statements after page 21, line 4 of the interview transcript.

         This Court is aware that there is an upcoming trial in this case. Since the Motion is

  essentially unopposed, this Court will shorten the objection period within which the parties may

  file objections to this Report and Recommendation with the District Court. The parties shall

  have five (5) calendar days from the date of this Report and Recommendation within which to

  file objections, if any, with the Honorable Jose E. Martinez, the United States District Judge

  assigned to this case. Pursuant to Federal Rules of Criminal Procedure Rule 59(b)(2), failure to

  file objections timely waives a party’s right to review and bars the parties from attacking on

  appeal any legal rulings and factual findings contained herein.

         DONE AND SUBMITTED in Chambers at Fort Pierce, Florida, this                  21st   day of

  September, 2017.


                                        ____________________________________
                                        SHANIEK M. MAYNARD
                                        UNITED STATES MAGISTRATE JUDGE

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  Copies furnished:
  Hon. Jose E. Martinez
  SAUSA Ryan Butler
  Brian Mallonee, Esq.




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